Case 1:24-cv-00794-JPH-TAB Document 51 Filed 09/03/24 Page 1 of 12 PageID #:
                                <pageID>



                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


CORRIE HORAN, INDIVIDUALLY AND        )
AS PARENT OF O.D., a minor,           )
                                      )
           Plaintiff,                 )
                                      )
v.                                    )                      CAUSE NO. 1:24-cv-794-JPH-TAB
                                      )
THE BOARD OF SCHOOL COMMISSIONERS )
FOR THE CITY OF INDIANAPOLIS dba      )
INDIANAPOLIS PUBLIC SCHOOLS,          )
SUPERINTENDENT ALEESIA JOHNSON,       )
INDIVIDUALLY AND IN HER OFFICIAL      )
CAPACITY, PRINCIPAL, MARY KAPCOE,     )
INDIVIDUALLY AND IN HER OFFICIAL      )
CAPACITY, VICE PRINCIPAL, FINAE RENT, )
INDIVIDUALLY AND IN HER OFFICIAL      )
CAPACITY, TEACHER, JULIOUS JOHNICAN, )
INDIVIDUALLY AND IN HIS OFFICIAL      )
CAPCITY, SUBSTIUTE TEACHER, PARDEEP )
DAHLIWAL, INDIVIDUALLY AND IN HER     )
OFFICIAL CAPACITY, ANTHONY BIGBY,     )
IPS BEHAVIORAL, INDIVIDUALLY AND IN )
HIS OFFICIAL CAPACITY,                )
                                      )
           Defendants.                )


  PLAINTIFF’S RESPONSE AND OBJECTION TO DEFENDANT JOHNICAN’S MOTION
                         FOR PROTECTIVE ORDER

        Corrie Horan, individually and as parent of O.D., a minor (“Plaintiff”), by counsel,

respectfully responds and objects to Defendant, Julious Johnican’s, “Motion for Protective

Order” – which is in essence a motion for a gag order. In response and in support of the

objection, Plaintiff states:




                                                 1
Case 1:24-cv-00794-JPH-TAB Document 51 Filed 09/03/24 Page 2 of 12 PageID #:
                                <pageID>



                                                   Introduction

         On June 25, 2024, an article was published by news outlet WFYI Indianapolis titled: “No

one told state education officials about alleged abuse by an IPS teacher. And no law requires it.” 1

On the same day that the article was published, Plaintiff’s counsel, Tammy Meyer, shared the

article, as she does many others, on the Metzger Rosta’s Facebook page, with a brief statement

containing commentary on the article which focused on teaching licenses in the State of Indiana

and failures in the educational system with reporting of substantiated child abuse claims, including

Julious Johnican’s, to the Indiana Department of Education. 2 Meyer’s post on the Metzger Rosta

Facebook page is attached as Exhibit A.

         On June 27, 2024, civil counsel for Defendant Julious Johnican, Caren Pollack, emailed

Meyer requesting her to remove the post, and Meyer declined to do so as the post was not a

violation of the Indiana Rules of Professional Conduct. Counsel Pollack did not email or copy

attorney Catherine Michael (nor did she contact Michael, her staff, or Connell Michael, LLP with

any request to remove or change any online posting by Michael). [Dkt. 42, Ex.B] Contrary to

Pollack’s statement in the Motion for Protective Order, Michael has not altered or removed any

online posting. There was no further contact from Pollack via email or telephone call with Meyer

on this issue and at no time had Pollack contacted Michael about similar posts.

         On July 1, 2024, Defendant Johnican’s counsel filed a Motion for an emergency pre-trial

conference but failed to state the “emergency” or why a conference was needed. Defendant’s

counsel did not communicate with Michael or Meyer regarding the reason for the request for an




1
 The article can be accessed at the following link: No one told state education officials about alleged abuse by an
IPS teacher. And no law requires it (wfyi.org)

2
 In the motion, Defendant Johnican’s counsel incorrectly states that Catherine Michael, Meyer’s co-counsel,
immediately removed a similar post she had made regarding this matter after being contacted by Pollack. That is not
accurate. Michael has not been contacted by Pollack. Michael did make a similar post, sharing and commenting on
the same WFYI article. That post remained and Michael has not, and was not, contacted about it by Defendant’s
counsel.
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Case 1:24-cv-00794-JPH-TAB Document 51 Filed 09/03/24 Page 3 of 12 PageID #:
                                <pageID>



emergency pre-trial conference. The pre-trial was held on July 18, 2024, at Defendant Johnican’s

counsel’s request wherein she orally requested a gag order seeking to have Plaintiff’s counsel

ordered not to discuss this civil case in the media or any other forum. At the pre-trial conference

Pollack was instructed that if she wished to pursue the matter further, she could file a Protective

Order, as the Court stated that it was not taking any action on the matter based on the pre-trial

conference. Two weeks later, again without any additional communication to Meyer or Michael

of any type, Defendant Johnican filed a Motion for Protective Order seeking to gag Plaintiff’s

counsel from making any comment to the media concerning this case against a public entity in the

State of Indiana and its staff members. [Dkt. 42]

       Defendant’s motion seeks an extraordinary remedy that would impose an unjustified

restriction on Plaintiff’s counsels’ constitutionally protected right to free speech on matters of

significant public concern, specifically the accountability and safety practices within the public

school system and a public matter involving a civil case against a school system.

       Defendant has not met the rigorous standards required to justify such a restriction. First,

the statements by Plaintiff’s counsel, which are at the core of Defendant’s motion, do not violate

Indiana Rule of Professional Conduct 3.6, as they neither disclose confidential information nor

present any material risk of prejudicing the judicial process. Instead, these statements reflect

permissible and necessary commentary on the broader issues of public safety and institutional

accountability, both of which are subjects of legitimate concern to the community.

       Second, Defendant has failed to demonstrate any substantial likelihood that the statements

in question have influenced or will influence the impartiality of the jury pool or otherwise impede

the administration of justice. Defendant’s claims are speculative and unsupported by evidence.

Furthermore, the timing of Defendant’s motion, filed more than a month after the statements were

made and nearly two weeks following an "emergency" hearing on the issue, raises questions about

the true intent behind this request. The lack of immediacy in Defendant’s actions suggests that the
                                              3
Case 1:24-cv-00794-JPH-TAB Document 51 Filed 09/03/24 Page 4 of 12 PageID #:
                                <pageID>



motion is an attempt to suppress legitimate criticism and gain a strategic advantage rather than a

genuine effort to protect the fairness of the proceedings.

   I.      Defendant Johnican’s Motion for Protective Order Should Be Denied Because
           The Motion Requests This Court To Infringe On Counsels’ First Amendment
           Rights Of Freedom Of Speech On Matters Of Public Concern.

        The First Amendment strongly protects the right to free speech, particularly on matters of

public concern. The statements by Plaintiff’s counsel Meyer about the failures of IPS and the

broader implications for school safety and accountability clearly fall within this category. The U.S.

Supreme Court has recognized that attorneys, like other citizens, are permitted to express their

views publicly unless their speech poses a serious threat to the fairness of a trial, which has not

been demonstrated here.

        A trial court can only limit a party’s and their attorney’s exercise of their First Amendment

right of freedom of speech where the record contains sufficient specific findings that the party’s

and their attorney’s conduct poses a “serious and imminent threat to the administration of justice.”

Davis v. Carmel Clay Schs., No. 1:11-cv-00771, 2012 U.S. Dist. LEXIS 50172 at *2-3 (Apr. 9,

2012) quoting Chase v. Robson, 435 F.2d 1059, 1061 (7th Cir. 1970). A party moving to gag

attorneys from making statements about the case must show something more than a “mere remote

possibility” that they will suffer from juror partiality. Mendez v. City of Chi., No. 18 CV 5560,

2019 U.S. Dist. LEXIS 202105 at *10 (N.D. Ill. Nov. 21, 2019) (denying defendants request to

bar public comment by plaintiffs and their attorney where the attorney had made public

extrajudicial statements including recitations of the facts alleged in the plaintiffs' complaint,

"applicable Fourth Amendment law," and investigatory findings regarding alleged police practices

relating to excessive force against young children).

        "A blanket prohibition...against all comment in a case whether tried before a judge or jury

without regard to whether such comment is or even could be prejudicial to the fair administration

of justice cannot stand without making a mockery of the free speech guarantee of the first
                                               4
Case 1:24-cv-00794-JPH-TAB Document 51 Filed 09/03/24 Page 5 of 12 PageID #:
                                <pageID>



amendment." In re Oliver, 452 F.2d 111, 114 (7th Cir. 1971). An order prohibiting speech must

be narrowly drawn so that it does not prohibit speech which will not have an effect on the fair

administration of justice. Chase. 435 F.2d at 1061.

       The statements cited by Defendant were neither misleading nor false; instead, they

represent permissible commentary on issues of significant public concern. In particular, these

statements address the accountability of individuals and institutions responsible for the safety and

well-being of students, a matter that directly impacts the public's interest in maintaining a safe and

effective educational environment. Criticism of public officials and entities, especially in their

professional capacities, is a well-established aspect of free speech protected by the First

Amendment. The expression of dissatisfaction or concern over the conduct of public school

officials and employees falls squarely within this realm, as it pertains to the public's right to be

informed about matters that could affect their children and community.

       A protective order preventing attorneys from making any public statements regarding a

case is impermissibly broad under the Seventh Circuit’s “serious and imminent threat” standard:

in such cases, courts have found that Professional Rule of Conduct 3.6 is sufficient to govern the

conduct of counsel. Davis, LEXIS 50172 at *2; see also, Bianchi v. Tonigan, No. 12 C 0364, 2012

U.S. Dist. LEXIS 168590 at *17 (N.D. Ill. Nov. 28, 2012).

       Judicial restraints on extrajudicial comments of lawyers about a pending proceeding must

be evaluated in the context of the First Amendment jurisprudence. Chase v. Robson, 435 F.2d 1059

(7th Cir. 1970). The Indiana Supreme Court’s comments to Indiana Professional Rule of Conduct

3.6 acknowledge the importance of balancing the right to a fair trial with the right of free

expression when it comes to trial publicity. Ind. Rule of Professional Conduct 3.6, Comment [1].

           [T]here are vital social interests served by the free dissemination of information about events
           having legal consequences and about legal proceedings themselves. The public has a right to
           know about threats to its safety and measures aimed at assuring its security. It also has a
           legitimate interest in the conduct of judicial proceedings, particularly in matters of general
           public concern. Furthermore, the subject matter of legal proceedings is often of direct
           significance in debate and deliberation over questions of public policy.
                                                 5
Case 1:24-cv-00794-JPH-TAB Document 51 Filed 09/03/24 Page 6 of 12 PageID #:
                                <pageID>



Id.

       The United States Constitution protects rights of free speech under the First Amendment,

and the most rigorously protected speech is that which is on matters of public concern. Snyder v.

Phelps, 562 U.S. 443, 451-452. “[S]peech on matters of public concern . . . is at the heart of the

First Amendment’s protection.” Dun & Bradstreet, Inc. v. Greenmoss Builders, Inc., 472 U.S.

749, 758-759. The First Amendment establishes “a profound national commitment to the principle

that debate on public issues should be uninhibited, robust, and wide-open.” New York Times

Co. v. Sullivan, 376 U.S. 254, 270. That is because “speech concerning public affairs is more than

self-expression; it is the essence of self-government.” Garrison v. Louisiana, 379 U.S. 64, 74-75.

Accordingly, “speech on public issues occupies the highest rung of the hierarchy of First

Amendment values and is entitled to special protection.” Connick v. Myers, 461 U.S. 138, 145.

This protection is of no less significance when the speaker on public issues is an attorney

participating in an ongoing civil matter concerning the abuse of a special needs child while

at school. United States v. Schock, No. 16-cr-30061, 2016 U.S. Dist. LEXIS 171016 at *4 (C.D.

Ill. Dec. 9, 2016) citing Chi. Council of Lawyers v. Bauer, 522 F.2d 242, 253-254 (7th Cir. 1975)

(noting that attorneys are often in the position to act as a check on government by exposing abuses).

       There are fewer matters of greater public concern than failures in the school system that

cause harm to children, including the most vulnerable with special needs. Schools are charged with

an immense undertaking which is critical in developing future generations. Millions of Indiana

parents send their children to school every day trusting that the schools and the larger education

system will teach and care for their children, and not subject them to harm. When this trust is

violated, the shortcomings in the systems designed to protect children in our state must be exposed

through public discourse. To silence speech on such a grave topic would be to forget the very

purpose of First Amendment rights to freedom of speech.



                                               6
Case 1:24-cv-00794-JPH-TAB Document 51 Filed 09/03/24 Page 7 of 12 PageID #:
                                <pageID>



   II.      Defendant Johnican’s Motion For Protective Order Should Be Denied Because
            The Request Is Impermissibly Broad, And Rule Of Professional Conduct 3.6 Is
            Sufficient To Govern Counsels’ Speech In This Matter.

         In this case, an order preventing counsel from “discussing this matter on social media or

sharing their thoughts regarding the matter with the media” as requested in Defendant Johnican’s

Motion would be impermissibly overbroad. Under such a gag order, any statement counsel would

be otherwise permitted to make under Rule of Professional Conduct 3.6 would be prohibited even

though it would not pose a serious and imminent threat to the administration of justice. Defendant's

motion rather appears to be a calculated attempt to stifle Plaintiff's counsel's criticism of all

Defendants and to gain a tactical advantage by silencing public discourse regarding the issues

presented within this case. The timing of Defendant’s motion and the vague assertions of harm

indicate an effort to limit the Plaintiff’s ability to advocate for her child’s rights publicly through

general criticism of the educational system as a whole. Such efforts should not be rewarded with

the extraordinary remedy of a gag order.

         Plaintiff’s counsel have been vigilant in upholding Rule 3.6 in all media statements and

social media posts to date in this matter, and they will continue to do so. Defendant’s motion

asserts that Meyer violated Rule 3.6 when she made the Facebook post at issue. However,

Defendant does not illuminate how the post violated Rule 3.6, only stating that the post was

“inflammatory.” Rule 3.6 nor any of its comments prohibit a statement that is merely

“inflammatory.” And, it is certainly open for debate as to whether a comment is inflammatory.

         In his motion, Defendant cites United States v. Calabrese, No. 02 CR 1050, 2007 U.S. Dist.

LEXIS 51128 at *6 (N.D. Ill. July 13, 2007) where the court entered an order restricting

extrajudicial statements by trial participants. However, the facts surrounding that case before the

Illinois District Court were vastly different from the present case. Calabrese was a high-profile

criminal case involving charges against multiple defendants for murder, racketeering, and

conspiracy. Id. at *1-2. The court stated that its decision was in part based on inappropriate actions
                                                7
Case 1:24-cv-00794-JPH-TAB Document 51 Filed 09/03/24 Page 8 of 12 PageID #:
                                <pageID>



which had already taken place such as the disclosure to media of sensitive information from sealed

records in the case. Id. at *4-5. Further, the court was concerned with public circulation of

“evidence which might never be admitted at trial and ex parte statements by counsel giving their

version of the facts.” Id. at *7.

           The concerns of the Calabrese court have no merit in the present case. The social media

post at issue in this case states a general opinion based on publicly available information that

Defendants in this civil matter “failed” O.D. This is not a legal conclusion, nor is it a statement of

counsel’s own “version of the facts.” The post does not reveal any information about the criminal

or civil matter that is not widely available to the public. Meyer’s statements in the post are an

expression of concern about general public policy issues relating to teaching licenses and schools

taking accountability for what happens in their classrooms. These are general public policy issues

that are peripheral to the present case. Meyer’s statements in the post are targeted at the larger

education “system,” rather than at Defendant Johnican individually. Defendant Johnican’s name

was included in a list with IPS, School 87, DCS, and the Indiana Department of Education to show

that the issues run much deeper than the acts of one individual.

    III.      Defendant’s Motion Fails to Meet the Standard for a Protective Order

           Defendant Julious Johnican’s motion represents an improper attempt to restrict Plaintiff

and her counsel’s fundamental First Amendment rights to free speech. In the Seventh Circuit, to

justify the issuance of a protective order that would limit extrajudicial statements, there must be a

compelling and demonstrable need to prevent a "serious and imminent threat" to the administration

of justice. Davis, LEXIS 50172 at *2 citing Chase, 435 F.2d at 1061. “Vague allegations” and a

showing of a “mere remote possibility” that juror impartiality could result are not enough to justify

a protective order barring public comments by counsel. Mendez, LEXIS 202105 at *10.

           The possibility that potential jurors could come across extrajudicial statements by counsel

is also not enough to show a serious and imminent threat because parties have the opportunity to
                                                  8
Case 1:24-cv-00794-JPH-TAB Document 51 Filed 09/03/24 Page 9 of 12 PageID #:
                                <pageID>



secure an impartial jury through the robust voir dire process. Dillinger v. Brandt, No. 1:20-cv-

2257-JMS-DLP, 2020 U.S. Dist. LEXIS 172989 at *8 (S.D. Ind. Sep. 22, 2020). Rather, to justify

the type of protective order that Defendant Johnican seeks, the Defendant must show that the reach

of counsel’s statements is so extensive that the Court and the parties will be unable to secure an

impartial jury using the ordinary procedures for screening potential jurors. Id. at * 9.

       Such a remedy is exceptional and should be reserved for instances where there is a clear,

present, and substantial risk that the fairness of the proceedings could be compromised. In this

case, Defendant has failed to meet this high bar. There is no evidence to support the contention

that any statements made by Plaintiff’s counsel present such a threat in either the criminal or civil

proceedings.

       Defendant Johnican’s motion is based on conjecture and speculation rather than concrete

facts. The social media statements by Plaintiff’s counsel, which are the crux of Defendant's

concerns, are merely expressions of opinion on the broader issue of accountability within the

educational system, particularly concerning the well-being of students such as O.D., the minor

child involved in this case. These statements do not touch upon specific evidentiary details,

confidential information, or any matter that could prejudice the facts in dispute or improperly

influence the impartiality of potential jurors. The statements are general in nature, reflecting the

legitimate concerns of a public advocate about the accountability of public institutions and do not

constitute a direct or indirect commentary on the specifics of the litigation.

       Further, Defendant Johnican has not provided any evidence that the statements by

Plaintiff’s counsel pose a "serious and imminent threat" to the judicial process in either the criminal

or civil contexts. There is no indication that the public commentary has reached potential jurors.

As of August 30, 2024, the Facebook post at issue has received only three “likes” and one “share,”

making it very unlikely that any potential jurors have or will view this post. And even if potential



                                                9
Case 1:24-cv-00794-JPH-TAB Document 51 Filed 09/03/24 Page 10 of 12 PageID #:
                                <pageID>



jurors do see this post, any possible prejudicial impact will be addressed through a robust voir dire

process.

        Additionally, no evidence has been presented that such statements would materially affect

the outcome of the proceedings, which are entirely different than issues before the Indiana

Department of Education on teacher licensing. The mere possibility that jurors could, in theory,

be exposed to these statements is insufficient to meet the "serious and imminent threat" threshold

established by precedent. Courts have consistently held that speculative concerns or hypothetical

scenarios do not justify the extraordinary step of issuing a gag order or other forms of prior restraint

on speech.

        The timing of Defendant Johnican’s motion further undermines its credibility and suggests

a lack of genuine concern over any purported threat to justice. As previously addressed in this

response, the motion was filed more than a month after the Facebook post by Plaintiff’s counsel

and nearly two weeks following an "emergency" hearing on the issue, raising serious doubts about

the urgency or seriousness of Defendant’s claims. If Defendant truly believed that the statements

posed an imminent danger to the integrity of the proceedings, a prompt response would have been

expected. The delayed filing, coupled with the vague and unsubstantiated assertions in the motion,

lack of any contact outside of a single email to counsel, suggests that the request for a protective

order is more of a strategic maneuver designed to silence Plaintiff’s counsel and restrict their

ability to advocate publicly for their client, rather than a legitimate effort to safeguard the fairness

of the trial.

        Protective orders that impose restrictions on speech are not to be granted lightly; they must

be based on a real, not imagined, threat to the judicial process. Defendant has not shown that

Plaintiff’s counsel’s public statements have caused any actual prejudice, nor that they will likely

cause prejudice in the future. The absence of evidence showing a tangible impact on the

proceedings or the jury pool further confirms that the perceived risk is, at most, theoretical.
                                                10
Case 1:24-cv-00794-JPH-TAB Document 51 Filed 09/03/24 Page 11 of 12 PageID #:
                                <pageID>



       Additionally, Defendant’s reliance on broad and unsupported claims of potential prejudice

falls short of the required standard for imposing such a drastic measure. The statements cited by

Defendant do not reveal any privileged information, are not so pervasive that they are likely to

reach potential jurors, do not contain inflammatory rhetoric that violates Rule of Professional

Conduct 3.6, and do not constitute an extrajudicial attempt to sway the outcome of the trial. Instead,

they reflect a lawyer’s legitimate right to comment on issues of public concern, particularly when

those issues pertain to the safety and welfare of children—a matter of significant public interest.

       In light of these considerations, Defendant’s motion lacks both the factual basis and the

legal justification required for the issuance of a protective order. The motion is overly broad, seeks

to impose a blanket restriction on speech without demonstrating the necessary and compelling

reasons for doing so, and ultimately attempts to suppress protected speech rather than address any

genuine concern for the administration of justice. Accordingly, Plaintiff respectfully requests that

the Court deny Defendant Johnican’s Motion for Protective Order in its entirety.

       WHEREFORE, the Plaintiff, Corrie Horan, individually and as parent of O.D., a minor, by

counsel, respectfully requests the Court deny Defendant Johnican’s Motion for Protective Order.

                                                      /s/ Tammy J. Meyer
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                                               11
Case 1:24-cv-00794-JPH-TAB Document 51 Filed 09/03/24 Page 12 of 12 PageID #:
                                <pageID>



                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 3rd day of September 2024, a true and exact copy of the

foregoing was electronically filed. Notice of this filing will be sent to the following parties by

operation of the Court’s electronic filing system.

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                                              12
